                 Case 23-11131-TMH              Doc 1099        Filed 01/08/24        Page 1 of 7




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH]

                                      Debtors. 1                         (Jointly Administered)


    AMENDED2 NOTICE OF AGENDA FOR HEARING ON JANUARY 9, 2024 AT 11:00
     A.M. (PREVAILING EASTERN TIME3) BEFORE THE HONORABLE THOMAS M.
    HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

    This hearing will be conducted via Zoom only before the Honorable Thomas M. Horan, in
     the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
         Floor, Wilmington, Delaware 19801. All parties are expected to attend via Zoom.
    All participants must register at the link below no later than January 8, 2024 at 4:00 p.m.
                                    (prevailing Eastern Time).
                            https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl

RESOLVED MATTERS

          1. Debtors’ Motion for Entry of an Order (I) Authorizing the Abandonment of Property
             and (II) Granting Related Relief [Filed December 18, 2023, Docket No. 933].

          Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern time.

          Responses Received: None.

          Related Documents:
                    a.          Certificate of No Objection Regarding Debtors’ Motion for Entry of an
                                Order (I) Authorizing the Abandonment of Property and (II) Granting
                                Related Relief [Filed January 4, 2024, Docket No. 1081].

                    b.          [Signed] Order (I) Authorizing the Abandonment of Property and (II)
                                Granting Related Relief [Filed January 5, 2024, Docket No. 1088].

               Status: This matter has been resolved.

1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Additions made to this Notice are in BOLD.
3
      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.


SF 4877-2492-3546.3 03703.004
               Case 23-11131-TMH             Doc 1099     Filed 01/08/24    Page 2 of 7



        2. Fifth Omnibus Motion for the Entry of an Order (A) Authorizing Rejection of
           Executory Contracts Effective as of the Applicable Rejection Date; and (B) Granting
           Related Relief [Filed December 18, 2023, Docket No. 934].

        Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern time.

        Responses Received:

                 a.          Ginko Bioworks, Inc.’s (I) Objection to the Fifth Omnibus Motion for the
                             Entry of an Order (A) Authorizing Rejection of Executory Contracts
                             Effective as of the Applicable Rejection Date; and (B) Granting Related
                             Relief and (II) Notice of Conditional Election Pursuant to Section 365(n)
                             of the Bankruptcy Code [Filed January 2, 2024, Docket No. 1050].

        Related Documents:

                 a.          Certification of Counsel Regarding Fifth Omnibus Motion for the Entry of
                             an Order (A) Authorizing Rejection of Executory Contracts Effective as of
                             the Applicable Rejection Date; and (B) Granting Related Relief [Filed
                             January 3, 2024, Docket No. 1071].

                 b.          [Signed] Fifth Omnibus Motion for the Entry of an Order (A) Authorizing
                             Rejection of Executory Contracts Effective as of the Applicable Rejection
                             Date; and (B) Granting Related Relief [Filed January 4, 2024, Docket No.
                             1075].

        Status: This matter has been resolved.

MATTERS RESOLVED BY CNO/COC:

        3. [REDACTED] Motion for an Order Approving Modified Key Employee Incentive
           Plan for Senior Leadership Employees [Filed December 20, 2023, Docket No. 959].

        Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          Certificate of No Objection Regarding Motion for an Order Approving
                             Modified Key Employee Incentive Plan for Senior Leadership Employees
                             [Filed January 4, 2024, Docket No. 1082].

                 b.          [Signed] Order Approving Modified Key Employee Incentive Plan for
                             Senior Leadership Employees [Filed January 5, 2024, Docket No.
                             1086].

        Status: This matter has been resolved.

        4. Motion for an Order Authorizing Debtors to File Under Seal Certain Information
           Related to Debtors’ Motion to Approve Modified Key Employee Incentive Plan [Filed
           December 20, 2023, Docket No. 961].


                                                     2
DOCS_LA:352102.4 03703/004
               Case 23-11131-TMH             Doc 1099     Filed 01/08/24     Page 3 of 7



        Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          Certificate of No Objection Regarding Motion for an Order Authorizing
                             Debtors to File Under Seal Certain Information Related to Debtors’ Motion
                             to Approve Modified Key Employee Incentive Plan [Filed January 4, 2024,
                             Docket No. 1083].

                 b.          [Signed] Order Authorizing Debtors to File Under Seal Certain
                             Information Related to Debtors’ Motion to Approve Modified Key
                             Employee Incentive Plan [Filed January 5, 2024, Docket No. 1089].

        Status: This matter has been resolved.

        5. Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code to Enter into a
           Release Protocols Agreement with DSM Nutritional Products Ltd. and Firmenich S.A.
           [Filed December 20, 2023, Docket No. 977].

        Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          Declaration in Support Declaration of Han Kieftenbeld in Support of
                             Debtors’ Motion Pursuant to Section 363 of the Bankruptcy Code to Enter
                             into a Release Protocols Agreement with DSM Nutritional Products Ltd.
                             and Firmenich S.A. [Filed December 20, 2023, Docket No. 978].

                 b.          [Signed] Order Shortening Notice Period and Scheduling Hearing with
                             Respect to the (I)Debtors' Motion Pursuant to Section 363 of the
                             Bankruptcy Code to Enter into a Release Protocols Agreement with DSM
                             Nutritional Products LTD. and Firmenich S.A. and (II) Motion to Seal[Filed
                             December 20, 2023, Docket No. 987].

                 c.          Notice of Hearing Regarding (A) Debtors’ Motion Pursuant to Section 363
                             of the Bankruptcy Code to Enter Into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. and Firmenich S.A. and (B) Debtors’
                             Motion for Entry of an Order Authorizing Debtors to File Under Seal
                             Certain Information Related to Debtors’ Motion Pursuant to Section 363 of
                             the Bankruptcy Code to Enter Into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. and Firmenich S.A. [Filed December 21,
                             2023, Docket No. 992].

                 d.          Amended Notice of Hearing Regarding (A) Debtors’ Motion Pursuant to
                             Section 363 of the Bankruptcy Code to Enter Into a Release Protocols
                             Agreement with DSM Nutritional Products Ltd. and Firmenich S.A. and (B)
                             Debtors’ Motion for Entry of an Order Authorizing Debtors to File Under
                             Seal Certain Information Related to Debtors’ Motion Pursuant to Section
                             363 of the Bankruptcy Code to Enter Into a Release Protocols Agreement


                                                      3
DOCS_LA:352102.4 03703/004
               Case 23-11131-TMH             Doc 1099     Filed 01/08/24     Page 4 of 7



                             with DSM Nutritional Products Ltd. and Firmenich S.A. [Filed December
                             28, 2023, Docket No. 1020].

                 e.          Certificate of No Objection Regarding Debtors’ Motion Pursuant to Section
                             363 of the Bankruptcy Code to Enter into a Release Protocols Agreement
                             with DSM Nutritional Products Ltd. and Firmenich S.A. [Filed January 4,
                             2024, Docket No. 1084].

                 f.          [Signed] Order Granting Debtors’ Motion Pursuant to Section 363 of
                             the Bankruptcy Code to enter into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. And Firmenich S.A. [Filed January 5,
                             2024, Docket No. 1090].

        Status: This matter has been resolved.

        6. Debtors' Motion for Entry of an Order Authorizing Debtors to File Under Seal Certain
           Information Related to Debtors' Motion Pursuant to Section 363 of the Bankruptcy
           Code to Enter into a Release Protocols Agreement with DSM Nutritional Products Ltd.
           and Firmenich S.A. [Filed December 20, 2023, Docket No. 981].

        Response Deadline: January 2, 2024 at 4:00 p.m. prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          [Signed] Order Shortening Notice Period and Scheduling Hearing with
                             Respect to the (I)Debtors' Motion Pursuant to Section 363 of the
                             Bankruptcy Code to Enter into a Release Protocols Agreement with DSM
                             Nutritional Products LTD. and Firmenich S.A. and (II) Motion to Seal[Filed
                             December 20, 2023, Docket No. 987].

                 b.          Notice of Hearing Regarding (A) Debtors’ Motion Pursuant to Section 363
                             of the Bankruptcy Code to Enter Into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. and Firmenich S.A. and (B) Debtors’
                             Motion for Entry of an Order Authorizing Debtors to File Under Seal
                             Certain Information Related to Debtors’ Motion Pursuant to Section 363 of
                             the Bankruptcy Code to Enter Into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. and Firmenich S.A. [Filed December 21,
                             2023, Docket No. 992].

                 c.          Amended Notice of Hearing Regarding (A) Debtors’ Motion Pursuant to
                             Section 363 of the Bankruptcy Code to Enter Into a Release Protocols
                             Agreement with DSM Nutritional Products Ltd. and Firmenich S.A. and (B)
                             Debtors’ Motion for Entry of an Order Authorizing Debtors to File Under
                             Seal Certain Information Related to Debtors’ Motion Pursuant to Section
                             363 of the Bankruptcy Code to Enter Into a Release Protocols Agreement
                             with DSM Nutritional Products Ltd. and Firmenich S.A. [Filed December
                             28, 2023, Docket No. 1020].

                 d.          Certificate of No Objection Regarding Debtors' Motion for Entry of an
                             Order Authorizing Debtors to File Under Seal Certain Information Related
                             to Debtors' Motion Pursuant to Section 363 of the Bankruptcy Code to Enter


                                                      4
DOCS_LA:352102.4 03703/004
               Case 23-11131-TMH            Doc 1099     Filed 01/08/24    Page 5 of 7



                             into a Release Protocols Agreement with DSM Nutritional Products Ltd.
                             and Firmenich S.A. [Filed January 4, 2024, Docket No. 1085].

                 e.          [Signed] Order Authorizing Debtors to File Under Seal Certain
                             Information Related to Debtors’ Motion Pursuant to Section 363 of the
                             Bankruptcy Code to Enter into a Release Protocols Agreement with
                             DSM Nutritional Products Ltd. And Firmenich S.A. [Filed January 4,
                             2024, Docket No. 1091].

        Status: This matter has been resolved.

        7. Debtors’ Motion for Entry of an Order (I) Extending the Debtors’ Exclusive Periods to
           File a Chapter 11 Plan and Solicit Acceptances Thereof Pursuant to Section 1121 of
           the Bankruptcy Code and (II) Granting Related Relief [Filed December 7, 2023, Docket
           No. 853]

    Response Deadline: December 22, 2023 at 4:00 p.m. prevailing Eastern Time.

    Related Documents:

              a. Certificate of No Objection Regarding Debtors’ Motion for Entry of an Order (I)
                 Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit
                 Acceptances Thereof Pursuant to Section 1121 of the Bankruptcy Code and (II)
                 Granting Related Relief [Filed January 5, 2024, 2023, Docket No. 1087].

              b. [Signed] Order Extending Exclusive Periods to File and Solicit a Plan [Filed
                 January 5, 2024, 2023, Docket No. 1094].

    Status: This matter has been resolved.

    MATTERS GOING FORWARD:

        8. Motion to Approve Stipulation between Debtors and JPMorgan Chase Bank, N.A. (I)
           Authorizing Debtors to (A) Submit Application and Agreement for Issuance of Letter
           of Credit, and (B) Obtain Credit Under Letter of Credit Agreement Secured by
           Assignment of Cash Security, and (II) Modifying the Automatic Stay to Allow
           Application of Assigned Cash Security under Terms of Letter of Credit Agreement
           [Filed December 22, 2024, Docket No. 1002].

        Response Deadline: January 5, 2024 at 5:00 pm prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          [Signed] Order Shortening Notice Period and Scheduling Hearing With
                             Respect to the Debtors’ Motion for Entry of Order Approving Stipulation
                             Between Debtors and JPMorgan Chase Bank, N.A. (I) Authorizing Debtors
                             to (A) Submit Credit, and (B) Obtain Credit Under Letter of Credit
                             Agreement Secured By Assignment of Cash Security, and (II) Modifying
                             the Automatic Stay to Allow Application of Assigned Cash Security Under
                             Terms of Letter of Credit Agreement [Filed December 27, 2023, Docket
                             No. 1008].

                                                     5
DOCS_LA:352102.4 03703/004
               Case 23-11131-TMH             Doc 1099      Filed 01/08/24    Page 6 of 7



                 b.          Notice of Hearing re Debtors’ Motion for Entry of Order Approving
                             Stipulation Between Debtors and JPMorgan Chase Bank, N.A. (I)
                             Authorizing Debtors to (A) Submit Application and Agreement for Issuance
                             of Letter of Credit, and (B) Obtain Credit Under Letter of Credit Agreement
                             Secured By Assignment of Cash Security, and (II) Modifying the Automatic
                             Stay to Allow Application of Assigned Cash Security Under Terms of
                             Letter of Credit Agreement [Filed December 27, 2023, Docket No. 1014].

                 c.          Certificate of No Objection Regarding Motion to Approve Stipulation
                             between Debtors and JPMorgan Chase Bank, N.A. (I) Authorizing
                             Debtors to (A) Submit Application and Agreement for Issuance of
                             Letter of Credit, and (B) Obtain Credit Under Letter of Credit
                             Agreement Secured by Assignment of Cash Security, and (II)
                             Modifying the Automatic Stay to Allow Application of Assigned Cash
                             Security under Terms of Letter of Credit Agreement [Filed TBF,
                             Docket No. TBF].

        Status: This matter is going forward.

        9. [SEALED] Debtors’ Objection to Claim Nos. 663 and 666 Filed By Lavvan, Inc. [Filed
           December 7, 2023, Docket No. 839].

    Response Deadline: December 27, 2023 at 4:00 p.m. prevailing Eastern Time.

    Related Documents:

                 a.          [SEALED] Response of Lavvan, Inc. to the Debtors' Claim Objection [Filed
                             December 27, 2023, Docket No. 1012].

                 b.          Order Establishing Schedule and Protocols In Connection With (1) Debtors’
                             Objection to Claim Nos. 663 and 666 [Filed December 14, 2023, Docket
                             No. 907].

    Reply:

                 a.          Debtors’ Reply in Support of Objection to Claim Nos. 663 and 666 Filed
                             by Lavvan, Inc. [Filed January 5, 2024, Docket No. 1098].

    Status: This matter is going forward.

        10. [SEALED] Motion to Estimate Lavvan Intellectual Property Claims [Filed December
            7, 2023, Docket No. 840]

    Response Deadline: December 27, 2023 at 4:00 p.m. prevailing Eastern Time.

    Related Documents:

                 a.          [SEALED] Lavvan, Inc.'s Preliminary Response to Debtors' Motion to
                             Estimate Lavvan Intellectual Property Claims [Filed December 27, 2023,
                             Docket No. 1013].

                 b.          Order Establishing Schedule and Protocols In Connection With (1) Debtors’


                                                      6
DOCS_LA:352102.4 03703/004
               Case 23-11131-TMH            Doc 1099    Filed 01/08/24   Page 7 of 7



                             Objection to Claim Nos. 663 and 666 [Filed December 14, 2023, Docket
                             No. 907].

    Reply:

                 c.          Reply in Support of Motion to Estimate Lavvan Intellectual Property
                             Claims [Filed January 5, 2024, Docket No. 1097].

    Status: This matter is going forward.




 Dated: January 8, 2024                             PACHULSKI STANG ZIEHL & JONES LLP

                                                    /s/ James E. O’Neill
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                                                    7
DOCS_LA:352102.4 03703/004
